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                     UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF NEW YORK

                                               x
UNITED STATES Of AMERICA
                                                     Case No. 1 7-cr-006$6-LAK
V.


JAMES GATTO.
alk!a “Jim,”
MERL CODE, and
CHRISTIAN DAWKINS,

      Defendants.
                                               x

                          SENTENCING MEMORANDUM
                       ON BEHALF OF CHRISTIAN DAWKINS




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                 Defendant    Christian   Dawkins       (“Christian”)   respectfully   submits   this

memorandum in advance of his March 5, 2019 sentencing, to provide information and aid the

Court in fashioning a sentence that is “sufficient, but not greater than necessary” to achieve the

statutory purposes of sentencing.

                                          INTRODUCTION

                 Your Honor is no doubt familiar with the nature and circumstances of the offenses

for which Mr. Dawkins will be sentenced.            However, as set forth more fully below, we

respectfully request that the court take into consideration Mr. Dawkins’ conduct not just over the

course of the several months that gave rise to the charges in this case, but also the good character

displayed by Mr. Dawkins over the course of his lifetime, as well as his youth and his

upbringing.      When viewed from this perspective, we respectfully submit that a sentence of

probation would constitute a just sentence and one that is sufficient to promote the statutory ends

of sentencing.

                  Christian has the tremendous support of family and friends, many of whom have

written letters to Your 1-lonor to emphasize the value and benefit Christian has provided to his

family, friends and to society. (See Ex. A, (Letters to Judge Kaplan).) F or Christian, family

comes first. He is a loving son, big brother to his sister Hailee, who currently is a student at

Speliman College in Atlanta, Georgia and a surrogate father to his little brother Elijah Dawkins.

While the Dawkins family is, and always has been, a basketball family, the individuals who

submitted letters on behalf of Christian are not famous basketball players, but instead a diverse

cross section of individuals who have known Christian from his infancy to the present, and are

able to speak not just to his character, but to the type of young man his mother and father raised.

                  One constant theme in the overwhelmingly supportive letters submitted on

Christian’s behalf is the mention of the tragic death of his little brother Dorian Styles Dawkins

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and the impact his passing had on Christian. At the young age of 14, Christian’s brother Dorian

suddenly and unexpectedly died in a summer league basketball game. His passing made national

news and rocked the entire state of Michigan. There is little question that much of Christian’s

hunger for success—to “be somebody” in the basketball world—came from the void lefi by his

brother Dorian. F or Christian, becoming a prominent basketball agent was the way he could

keep his little brother’s memory alive and make his family proud of his success. Christian spent

years learning how the basketball industry worked under prominent agent Andy Miller at ASM

Sports. Then, at the young age of 25, Christian made the ambitious decision to stall his own

company. The sports management business that Christian ultimately set out to build was called

LOYD Inc., which stands for “Living Out Your Dreams.” Christian was on track to do just that:

live out his own dreams and become a successful business manager.

               As a result of his trial and conviction, however, Christian’s budding and once

promising career in the sports management business is decidedly over. Since his arrest, he has

been unemployed and entirely reliant upon his mother and father for his financial support.

Throughout this ordeal, including the present, Christian has resided in the basement of his

parents’ home in Cleveland, Ohio, where he lives with his mother Latrisha, his father, Lou and

his two-year old brother Elijah.

               Though presently making an effort of exploring a career in the music industry,

Christian’s days largely revolve around residing in Cleveland and acting as a caregiver and

surrogate father to his little brother, Elijah, while his mother father are working full-time at their

respective jobs.   The national publicity derived from this case has resulted in Christian’s

reputation being destroyed and has left him penniless and in debt.            As evidenced by his




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PreSentence Investigation Report, Christian literally does not have a dollar to his name and in

actuality has a negative worth of nearly $75,000. (PSR ¶ 10$.)

               This case has had a profound effect not only on Christian’s life but also on his

family. A cursory Google search of the Dawkins’s name generates literally hundreds of hits with

the labels, “hustler,” “con man,” and references to how he “ruined college basketball.”

Christian’s father, who as a current NCAA Division I assistant basketball coach at Cleveland

State has also felt the scrutiny and infamy of being associated with this trial. The consequences

of this case have rendered Christian, as well as his family, relative pariahs in the college

basketball world and very likely has ruined his father’s chances of one day securing his own

head coaching job—an ambition he has worked tirelessly for decades to achieve.

               In   sum,   Christian and the entire Dawkins family have already been sufficiently

punished. No    term of imprisonment is necessary     to deter Christian from committing crimes

similar to those charged in this case, nor is a term of imprisonment necessary to achieve a just

punishment for his actions.       Moreover, a sentence of probation would not be a substantial

deviation from the 8-month Guidelines recommendation by Pretrial Services.            As set forth

further below, such a departure is warranted here in light of Christian’s individual characteristics

and circumstances, the offense at issue, and the goals of sentencing that govern the Court’s

sentencing decision.

                                        APPLICABLE LAW

               The applicable law is discussed in great detail in the sentencing submissions of

Mr. Gatto and Mr. Code. For the Court’s convenience, rather than repeat that discussion here,

Mr. Dawkins expressly incorporates those portions of his co-defendants’ submissions by

reference.




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                   Mr. Dawkins will only note, very briefly, that the primary directive in Section

3553(a) is for sentencing courts to impose a sentence sufficient, but not greater than necessary, to

comply with the following purposes:

       (A)         to reflect the seriousness of the offense, to promote respect for the law,
                   and to provide just punishment for the offense;
       (B)         to afford adequate deterrence to criminal conduct;
       (C)         to protect the public from further crimes of the defendant; and
       (D)         to provide the defendant with needed educational or vocational training.
                   medical care, or other correctional treatment in the most effective
                   manner[.]

1 $ U.S.C.    §   3553(a)(2). In addition, when determining a minimally sufficient sentence, Section

3 553(a) further directs sentencing courts to consider the following factors:

        (1)         the nature and circumstances of the offense and the history and
                    characteristics of the defendant;

        (3)         the kinds of sentences available;

        (6)         the need to avoid unwarranted sentence disparities among defendants with
                    similar records who have been found guilty of similar conduct; and

        (7)         the need to provide restitution to any victims of the offense.

                                               ARGUMENT

        I.          CONSIDERATION OF TUE 18 U.S.C.              § 3553(A) FACTORS MERITS A
                    LENIENT SENTENCE.

                    In light of the foregoing, and based on the following analysis of the applicable

Section 3553(a) factors, we respectfully submit that a probationary sentence is sufficient to

comply with the statutory purposes of sentencing.

                    A.      Christian Dawkins’s History And Character

                    Christian Dawkins. now 26 years old. was born in Muskogee, Oklahoma and

moved to Saginaw, Michigan when he was three years old. (PSR               ¶   88.) from the age of three,

he resided in Saginaw with his mother, Latrisha. his father. Lou and his two siblings. Dorian,



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who passed away in 2009 at the age of 14 from a heart attack, and little sister Hailee, age 20,

who is currently a student at Speilman College in Atlanta, Georgia. (PSR            ¶   87.) The Dawkins

family was a legacy family in the rough town of Saginaw, and despite the prevalence of crime,

was largely immune from the violence of the city, as Christian’s father was a well-respected high

school basketball player and varsity coach, and his mother, an assistant middle school principal.

(PSR ¶ 87.)

               During his childhood years in Saginaw, Christian was raised in a very diverse

setting and spent time in specialized academic programs.         (PSR    ¶   92.)       Christian’s mother

characterized his personality as a youth as “introverted” (PSR     ¶   92.) After he graduated from

Saginaw High School, Christian spent one year at Saint Mark’s Boarding School in

Soutliborough. Massachusetts, to play basketball at a post-graduate preparatory school. (PSR             ¶
92.) In 2009, he left Saint Mark’s when his brother, Dorian, tragically passed away at the age of

14 while playing basketball. Immediately after the tragedy, Christian had a difficult time with

his brother’s passing, but turned the loss into a positive movement by the creation of a non-profit

organization dedicated to raise money for the American Heart Association. (PSR ¶ 92.)

               In 2010, upon Christian’s return to Saginaw his non-profit foundation, LOYD,

inc. (Living Out Your Dreams) began a mentorship program for at risk youths in the community

of Saginaw, as well as the neighboring inner city community of Flint.                   At that same time,

Christian founded a grassroots travel basketball team named Dorian’s Pride, in honor of his late

brother (PSR   ¶   107.) The travel program, offering opportunities to youth age 12-17, played in

tournaments throughout the nation called Show Your Heart, which raised money for the

American Heart Association.       (PSR   ¶   107.) During this time, Christian attended College in

University Center, Michigan, for about one year. His enrollment lasted from August 3 1st, 2010




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through April 6th, 2011, which was intelTupted when his father received a new coaching position

at Northern Illinois University, prompting the entire family, including Christian’s, relocation.

(PSR 101.)

                When the Dawkins family relocated to Illinois, Christian continued his studies at

Kishwaukee College in Malta, Illinois, where he was enrolled from August 22, 201 1 to

December 20, 2013.      Christian’s passion, however, was basketball and not academic.        He

ultimately decided to drop out to pursue his dream of becoming a sports agent in Atlanta,

Georgia. (PSR 102.)

                In 2012, at the young age of only 20, Christian first began reaching out to

professionals in the sports management world looking for a guidance and for someone to teach

him how the business worked. He was even bold enough to pitch his idea of a sports marketing

company to agents despite not even having a college degree. But Christian knew that he had a

lot to learn.




                Eventually, Christian was hired as a Managing Director for International

Management Advisors (IMA) based in Cleveland, Ohio. This was his first foray into the world

of professional sports management, where he was responsible for managing and coordinating the

day-to-day activities of the firm’s NBA players.




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              In 2016, he left IMA to seek a more lucrative position with NBA super agent

Andy Miller and his agency, ASM. (PSR       ¶   105.) When Christian began working at ASM, he

was young and impressionable. with no formal education outside of a high school diploma.




               By setting forth this history, we do not mean to attempt to excuse Christian’s

actions or to make light of the charges in this case. The fact Christian was trained, mentored and

often instructed to break the rules, the sort of which ultimately gave rise to the conduct charged,

is no excuse for the poor decision making he exhibited in participating in the charged conduct.

Rather, the point we wish to convey is that Christian was by no means a criminal mastermind.

He was simply a young kid seeking to learn the business from industry professionals and,

unfortunately, was given the misimpression that this is just how the world worked. We would

respectfully ask the court give consideration to Christian’s youth at the time of his actions, with

the understanding that Miller’s influence would have been far less if Christian had possessed

more maturity and life experience, which was undoubtedly lacking in a 21 year old who viewed

men like Miller as mentors.




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                Indeed, the probation department noted that Christian Dawkins did not appear to

be “at the top of the decision-making tree for this larger scheme.”       (PSR   ¶ pg. 29.) This
combined with consideration of Christian’s youth, his loving and supportive family and

seemingly bright future ahead, resulted in the probation department’s application of 18 U.S.C.   §
3553(a) factors in concluding an 8 month sentence would be sufficient not greater than

necessary, to comply with the factors to be considered in imposing a sentence outlined in 18

U.S.C.   § 3553(a). We submit this reasoning to be consistent with the above and further ask the
Court adopt such reasoning to depart from the sentencing guidelines and exercise its discretion in

ordering a non-custodial sentence.

                B.     The Nature And Circumstances Of The Offense.

                Mr. Dawkins expressly joins in the arguments concerning the nature and

circumstances of this offense in Mr. Gatto and Mr. Code’s submissions—because such

arguments apply with equal force to Mr. Dawkins. (See e.g. Def. Gatto’s Sentencing Mem. at

Section 1(3) (discussing the proposal by the ABA Criminal Justice Task Force on the Reform of

Federal Sentencing for Economic Crimes which notes that when a defendant has “zero criminal

history points” and his “offense was not otherwise serious” as set forth in 28 U.S.C. §994(j), a

“sentence other than imprisonment is generally appropriate” to satisfy the objectives of

sentencing.))

                As the Court well knows, the charges against Christian Dawkins arose out of an

arrangement in which funds from Adidas were given to the father of a talented high school

basketball player—Brian Bowen Jr.—with the hope that Bowen Jr. would agree to play

basketball for one of Adidas’s sponsored universities: the University of Louisville. There is no

factual dispute that Christian Dawkins did help facilitate payments from Adidas to the family of

Brian Bowen, Jr., who ultimately attended Louisville.        But, like co-Defendant Merl Code,


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Christian was not involved in any of the conduct described at trial with respect to the University

of Kansas or North Carolina State University, and no such nexus was ever suggested, or

established at trial. This is particularly relevant as it limits any culpability only to the charges

related to the University of Louisville.

               At trial, the Government contended that Louisville was defrauded by Christian

and his co-defendants because Louisville offered an athletic scholarship to Bowen Jr. even

though, unbeknownst to the admissions and NCAA compliance administrators at Louisville,

Bowen Jr. was actually “ineligible” to play college athletics since his father, Brian Bowen, Sr.,

had accepted funds from Adidas. As a result of the charges filed in this case Brian Bowen Jr.

never played a single basketball game for Louisville.

               Importantly, however, just as there is no factual dispute regarding whether

payments were made, there also is no factual dispute that by directing for a payment to be made

to Brian Bowen, Sr., Christian Dawkins possessed no intent cause pecuniary harm to the

University of Louisville or harm it in any way. There was no evidence presented at trial that

Christian Dawkins desired for Bowen Jr. to be declared ineligible or that he desired for

Louisville to sustain financial losses; rather, the Government merely contended that Christian’s

conduct exposed Louisville to financial losses and his conduct was attributable to the loss of a

basketball scholarship. (Tr. 49:23-50:1, 58:16-19.). Indeed. Bowen Jr. being declared ineligible

such that Louisville would lose a scholarship was     contrary   to Mr. Dawkins’ interest.

                Truth in fact, Mr. Dawkins did not care whether or not a student-athlete received

a scholarship to attend a particular school. All he wanted was for the student-athlete to go to the

school that would give the player the best chance to thrive on the basketball court. In order to do

so, the student-athlete would need to be eligible. If the student-athlete performed well at the




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collegiate level, he would have a better chance at becoming at top NBA draft pick. The better

the player’s draft position, the more money the player would make as a rookie, which would

entitle Mr. Dawkins to a larger fee as the athlete’s business manager. It was therefore irrelevant

to Mr. Dawkins whether the student-athlete went to school on scholarship or had to pay full

tuition.

            That Mr. Dawkins’s goal was to have the student-athlete choose the university that

was the best basketball “fit” is demonstrated in his text messages with Government cooperator

Brian Bowen, Sr. After two players from the University of Arizona, Allonzo Trier and Rawle

Alkins, announced that they were returning to school, Mr. Dawkins encouraged Bowen Senior to

send Tugs to either Creighton or Michigan State because if Tugs went to one of those two

schools                                                    Mr. Dawkins recommended that Tugs

go to Michigan State, a Nike school, despite the fact that, as Mr. Bowen testified at trial,

Michigan State was unwilling to pay Bowen Senior to send him there. (Tr. 685:21-25). Mr.

Dawkins recommended Michigan State anyway because he had no interest in whether or not the

student-athlete received financial aid, either in the form of a scholarship or in the form of a

payment that violated NCAA rules. Mr. Dawkins’s goal was simply to put the student-athlete in

the best position to succeed at the collegiate level.

                This was especially so in light of Christian Dawkins’ relationship between he and

the Bowen family, namely Brian Bowen, Jr. and Brian Bowen, Sr.—a circumstance that

distinguishes Christian from the other defendants in this case.       Evidence presented at trial

established that Christian and the Bowens had a close relationship for years, and Christian

considered the Bowens to be like his family. Christian even referred to Tugs Bowen as being

like his son. See (DX-5).




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                It was established that Christian Dawkins had a long-standing relationship with

the Bowen family and that in his mind, pre-existing relationships between families afforded him

some level of immunity (or so he thought) for what otherwise was an NCAA rules violation.

There was simply no evidence presented at trial that Christian Dawkins desired Louisville to

sustain financial losses; rather, the Government contended that Mr. Dawkins, as with the other

co-defendants’ conduct exposed Louisville to financial losses. (Tr. 49:23-50:1, 58:16-19.)

                 It is with great emphasis that the foregoing does not excuse or justify the actions

of Christian Dawkins. Christian accepts the consequences of his actions and offers no excuse for

conduct he realizes was wrong. Yet at the same time, no evidence exists, or is suggestive, he

acted with any intent to cause pecuniary harm to the University of Louisville.

                   Despite the acknowledgments herein, it is important to note, as was emphasized in

the Presentence Investigation Report, the conduct at issue in this case is commonplace in college

athletics. For decades, the vast majority of individuals who participated in the same conduct for

which Christian Dawkins was convicted did so without criminal sanction.                            In fact, his own

bosses at ASM Sports, the benefactors of such conduct, somehow were immune from

prosecution in this case. And, even in the few instances where individuals have served custodial

sentences, there is little doubt that those cases are the exception. In sum, the facilitation of

payments   to   talented college athletes is commonplace and has historically been considered a

mere   violation   of    NCAA rules,    not   a   federal   crime.   Accordingly,   given   the   unique   nature   and

circumstances       of   this alleged   offense,      a     “sentence   other than imprisonment is generally

appropriate”    and      we would   ask the Your     Honor recognize      this benchmark and depart from the 8

month recommendation and impose a non-custodial period of supervision.




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              C.        A Non-Custodial Sentence is Appropriate in Order to Avoid
                        Unwarranted Disparities with Comparable Cases.

              As above, we expressly join in Defendant Gatto’s argument and incorporate by

reference his arguments concerning the avoidance of unwarranted sentencing disparities with

comparable cases, as those arguments likewise apply with equal force to Christian Dawkins.

(See Def. Gatto’s Sentencing Mem. at Section 1(C).)      In addition, we would like to briefly

reiterate the unfortunate truth detailed in Mr. Gatlo’s memorandum, which is that payments to

talented college athletes are commonplace and, until the Government brought this case, were

generally understood to be simply a violation of NCAA rules, not a federal crime.

              But the need to avoid unwarranted disparities exists not only when Mr. Dawkins

is compared to the many unknown others who have engaged in this behavior, but also when

compared to other known participants in the very same charged conduct.              Indeed, the

Government provided non-prosecution agreements to several individuals whom the FBI

investigated and concluded were involved in conduct similar to Mr. Dawkins’s. For example,




                                                      All of these actions rendered Koprivica

ineligible for NCAA competition and therefore would have caused Louisville to provide a

scholarship to an ineligible athlete—the exact same harm alleged to have been caused by Mr.

Dawkins in this case.




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              Brian Bowen Sr., the person who was responsible for his son’s failure to disclose

his NCAA ineligibility on his compliance forms, also received a non-prosecution agreement

from the Government.                          Yet, Bowen Sr. had been soliciting and receiving

money for his son’s talents, in violation of NCAA rules, since his son entered high school.




                                                            The other parents who accepted funds

from Adidas and were directly responsible for submitting false certifications to the Universities,

namely, Dennis Smith Sr., Nicole Preston, and F enny Falmagne, have also never been the target

of law enforcement and will face no criminal penalty of any sort.

               Similarly, no other employees at ASM were ever charged in this case, including

Miller, who since has been decertified and banned from the NBA.

               We submit it would be unjust for Christian Dawkins to be made an example

through incarceration, when so many people who have engaged in the exact same type of

conduct have never been, and will never be, criminally charged.         Under Section    § 3553(a),
Christian’s sentence should reflect this disparity, especially when considering that he has always

been a law abiding citizen, devoted brother and the primary caregiver for his little brother.

               D.      A Non-Custodial Sentence is Sufficient to Deter Criminal Conduct
                       and There is No Need to Protect the Public From Further Crimes of
                       Mr. Dawkins

               We again expressly join in Defendant Gatto’s argument and incorporate by

reference his arguments concerning the need for deterrence and, more specifically, that a non

custodial sentence is sufficient to deter others under the circumstances of this case. (See Def.

Gatto’s Sentencing Mem. at Section 1(D).) Christian’s entire life and career as he knew them

have been turned upside down and reduced to one of little hope. There is no doubt that even


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without a custodial sentence, Christian Dawkins, as well as his entire family have been punished

substantially.

                 Furthermore, the public humiliation associated with being indicted, tried and

convicted of a crime, especially on a national stage at such a young age, is severe.           The

experience of seeing one’s face and name pinned to the pages of the internet, newspapers and

sports media outlets is extremely difficult, and is made even worse when one knows that his

entire family will forever face the public embarrassment for you years to come.

                 Christian Dawkins’ infamy, perhaps more than any of the Defendants in this case,

has been eagerly reported by news writers around the world, especially those working in the

sports industry. Any sports fan who has so much paid attention to ESPN has received the

message loud and clear—giving impermissible benefits to student-athletes is more than just an

NCAA violation. Christian does not need to be incarcerated to get that message across, as he is

likely to be reminded of it every day for the rest of his life and certainly will never again be in

the professional context positioned to make such choices.

                 Finally, while Christian Dawkins fully understands and does not attempt to

trivialize the seriousness of this case, there is no need for specific deterrence here. Christian

certainly does not pose a threat to the public, and evidences no prior criminal history and, prior

to this case, had never even been charged with a crime. There is no point of reference one could

ever make to suggest that Christian Dawkins would have a propensity to be violent, or pose a

threat to anyone in society.

                 This conviction is an aberration in a life that has otherwise been characterized by

law-abiding behavior. In his young life, Christian has held nothing but the greatest respect for




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the law and certainly never exhibited any traits of a criminal, or one who absent incarceration,

would pose a threat, or be a menace to society.

                   In sum, Christian Dawkins’ entire life, in part by his own misguided volition, is

largely ruined and will never be the same. As a result of this case, he will never work again in

the sports management business and be saddled with multiple felony convictions, thereby vastly

limiting his professional opportunities in any capacity.         This punishment alone would is

sufficient. In short, there is absolutely no risk of recidivism here, and there is nothing to suggest

that the public needs to be protected from Christian Dawkins. F or these reasons, we submit that

a probationary sentence is appropriate.

       II.         THE SENTENCING GUIDELINES MERIT A LENIENT SENTENCE

                   Although a sentencing court does not need to follow the Sentencing Guidelines, it

is required to “correctly calculate{e] the applicable Guidelines range” before imposing a

sentence. Gall, 552 U.S. at 49-50. In the present instance, the Presentence Investigation Report

recommends a sentence of $ months based on an offense level of 11.                 Christian very much

appreciates the careful consideration and thoughtfulness of the Probation Office, although he

does. respectfully disagree, with Probation’s calculation of loss, as described below. In addition,

as a first-time offender, the imposition of a probationary sentence is appropriate for Christian

Dawkins.

                   A.     Christian Dawkins Did Not Intend to Cause Any Pecuniary Loss to
                          Louisville

                   Clnistian Dawkins’ base offense level is 7. (PSR, at   ¶ 6$.)   The PSR calculates a

10-level enhancement to that offense level based on a proposed “intended loss” of $165,400.00.

(PSR, at     ¶J   52, 61, 69.) The $165,400.00 figure is based upon the Government’s contention,

which was accepted by Probation, that it was “reasonably foreseeable” to Mr. Dawkins that



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Louisville would lose funds equal to the face value of a four-year athletic scholarship issued to

Brian Bowen Jr., the cost of that scholarship being $41,350.00 per year (PSR, at       ¶J 58, 61.) As
detailed below, however, Christian Dawkins objects to this enhancement because the PSR’s

estimate of intended loss is contrary to controlling law and the factual record for the reasons

detailed in Mr. Gatto’s submission, which we expressly join in and incorporate by reference.

               The Government cannot and did not point to a single instance in which Christian

Dawkins expressed an interest in depriving Louisville out of scholarship funds. As noted above,

the means by which Bowen Jr. paid for college    —   e.g., through his parents, through student loans,

or through an athletic scholarship—were entirely irrelevant to Christian.

               Moreover, while we contend that Christian did not intend       any   loss to Louisville,

to the extent that any “intended loss” exists, its calculation should be based on Christian’s

subjective belief that Bowen Jr. would spend only a year in college. As the Government is well

aware, pursuant to the evidence presented at trial by its own cooperating witness Brian Bowen

Sr., both he and Mr. Dawkins believed that Bowen Jr. would be a “one and done” player—

meaning he would “go to school for one year and then get drafted.” (Tr. 622:11-18; GX SiT).

Such a calculation would result in an intended loss amount of $41,350.00 and an enhancement of

6 levels; as opposed to the Government’s proposed “intended loss” calculation of $165,400.00—

which is unjustifiable given the explicit factual record.

               B.      The Probation Office Correctly Concluded That a Sophisticated
                       Means Enhancement is Inappropriate Here

               We expressly join in Defendant Gatto’s argument and incorporate by reference

his arguments concerning the Probation Office’s conclusion that a sophisticated means

enhancement would be inappropriate in this case. (See Def. Gatto’s Sentencing Mem. at Section

11(B).)



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         III.    THE PSWS CALCULATION OF RESTITUTION IS INCORRECT.

                 We expressly join in Defendant Gatto’s argument and incorporate by reference

his arguments concerning the PSR’s incorrect calculation of restitution with respect to

Louisville.     (See Def. Gatto’s Sentencing Mem. at Section III.)   Specifically, the amount of

restitution owed to Louisville should only be $20,675 because Bowen Jr. attended Louisville for

half of the year.

                                         CONCLUSION

                 For the foregoing reasons, we respectfully request that the Court impose a

probationary sentence, which is “sufficient, but not greater than necessary” to achieve the

statutory purposes of sentencing.




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           February 12, 2019

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